                                                                                                                      Case 2:06-cv-00549-JAM-DAD Document 26 Filed 08/10/07 Page 1 of 5


                                                                                                                  1   JAMES V. FITZGERALD, III (State Bar No. 55632)
                                                                                                                      NOAH G. BLECHMAN (State Bar No. 197167)
                                                                                                                  2   MCNAMARA, DODGE, NEY, BEATTY, SLATTERY,
                                                                                                                      PFALZER, BORGES & BROTHERS LLP
                                                                                                                  3   1211 Newell Avenue
                                                                                                                      Post Office Box 5288
                                                                                                                  4   Walnut Creek, CA 94596
                                                                                                                      Telephone: (925) 939-5330
McNAMARA, DODGE, NEY, BEATTY, SLATTERY, PFALZER, BORGES & BROTHERS LLP




                                                                                                                  5   Facsimile: (925) 939-0203
                                                                                                                  6   Attorneys for Defendants
                                                                                                                      CITY OF VALLEJO, ROBERT NICHELINI, JEROME
                                                                                                                  7   PATZER
                                                                                                                  8                                 UNITED STATES DISTRICT COURT

                                                                                                                  9                                EASTERN DISTRICT OF CALIFORNIA
                                                                         P.O. BOX 5288, WALNUT CREEK, CA 94596




                                                                                                                 10
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                 11   LORI BAUER, individually, and as                   Case No. 2:06-cv-00549-MCE-DAD
                                                                                   ATTORNEYS AT LAW




                                                                                                                      Personal Representative of the Estate of
                                                                                                                 12   Andrew Washington,                                 STIPULATION AND ORDER
                                                                                                                                                                         CONTINUING TRIAL AND OTHER
                                                                                                                 13                  Plaintiff,                          DATES PENDING RELEVANT MOTION
                                                                                                                                                                         IN RELATED FEDERAL
                                                                                                                 14          vs.                                         ACTION______________________________
                                                                                                                 15   CITY OF VALLEJO, a municipal                       Pre-Trial Conference: September 7, 2007
                                                                                                                      corporation; ROBERT NICHELINI, in his
                                                                                                                 16   capacity as Chief of Police for the CITY           Trial Date:            October 15, 2007
                                                                                                                      OF VALLEJO; JEROME PATZER,
                                                                                                                 17   individually and in his capacity as a police
                                                                                                                      officer for the CITY OF VALLEJO; and
                                                                                                                 18   DOES 1-25, inclusive, individually and in
                                                                                                                      their capacities as police officers for the
                                                                                                                 19   CITY OF VALLEJO,,
                                                                                                                 20                  Defendants.
                                                                                                                 21

                                                                                                                 22          IT IS HEREBY STIPULATED AND AGREED by and between the parties to this action,

                                                                                                                 23   through their respective counsel of record, and approved by the Court in the accompanying Order,

                                                                                                                 24   as follows:

                                                                                                                 25          1.      Currently, this matter is set for a pre-trial conference on September 7, 2007, and

                                                                                                                 26   has a trial date of October 15, 2007.

                                                                                                                      ///

                                                                                                                      ///
                                                                                                                      STIPULATION AND ORDER CONTINUING TRIAL AND
                                                                                                                      OTHER DATES PENDING RELEVANT MOTION IN
                                                                                                                      RELATED FEDERAL ACTION – 06-00549 MCE DAD
                                                                                                                      Case 2:06-cv-00549-JAM-DAD Document 26 Filed 08/10/07 Page 2 of 5


                                                                                                                  1           2.      A related case, though not formally ordered as a related case per LR 83-123, is that
                                                                                                                  2   of Andrew Washington v. Taser International, Inc., Case No. 05-CV-00881 DFL GGH.
                                                                                                                  3   The Washington case, though filed in 2005 as opposed to this Bauer case filed in 2006, does not
                                                                                                                  4   currently have a trial date set.
McNAMARA, DODGE, NEY, BEATTY, SLATTERY, PFALZER, BORGES & BROTHERS LLP




                                                                                                                  5           3.      Both the Bauer case and the Washington case arise out of the same event or
                                                                                                                  6   occurrence, namely the attempted arrest and apprehension of Mr. Andrew Washington
                                                                                                                  7   (“Decedent”) by officers from the Vallejo Police Department (“VPD”) on September 15, 2004,
                                                                                                                  8   which subsequently resulted in the death of Mr. Washington. Both cases involve claims for
                                                                                                                  9   wrongful death in relation to the facts and circumstances surrounding Decedent’s arrest.
                                                                         P.O. BOX 5288, WALNUT CREEK, CA 94596




                                                                                                                 10           4.      The Bauer case is being brought by the mother of Decedent Washington who
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                 11   contends that the use of the Taser to attempt to apprehend Decedent caused his death. Taser
                                                                                   ATTORNEYS AT LAW




                                                                                                                 12   International, the manufacturer of the Taser, is not a party in the Bauer case.
                                                                                                                 13           5.      The Washington case is being brought by the son of Decedent versus Taser
                                                                                                                 14   International, claiming strict liability, negligence and other defect claims as a result of the use of
                                                                                                                 15   the Taser. The City of Vallejo and officers from the VPD are not currently parties to this
                                                                                                                 16   Washington case.
                                                                                                                 17           6.      Recently, Plaintiff in the Washington case filed a motion for leave to file a First
                                                                                                                 18   Amended Complaint to name the City of Vallejo and officers from the VPD as parties to the
                                                                                                                 19   Washington case for claims of alleged civil rights violations arising out of Washington’s death.
                                                                                                                 20           7.      As of the preparation of this stipulation and order, the Washington parties had
                                                                                                                 21   briefed this motion and Judge Ralph R. Beistline has taken the matter under submission, without
                                                                                                                 22   argument. Plaintiff’s counsel in the Washington case has advised the Court in pleadings that if
                                                                                                                 23   the amendment is allowed, he will move to consolidate Washington with Bauer.
                                                                                                                 24           8.      The parties agree that if Plaintiff Washington prevails on his motion for leave to
                                                                                                                 25   file a First Amended Complaint, naming the City of Vallejo and officers from the VPD as parties
                                                                                                                 26   to the Washington case, then there will exist many overlapping issues and parties in the two

                                                                                                                      cases, necessitating a consolidation of these two cases for the purposes of discovery and trial.

                                                                                                                      ///
                                                                                                                      STIPULATION AND ORDER CONTINUING TRIAL AND        2
                                                                                                                      OTHER DATES PENDING RELEVANT MOTION IN
                                                                                                                      RELATED FEDERAL ACTION – 06-00549 MCE DAD
                                                                                                                      Case 2:06-cv-00549-JAM-DAD Document 26 Filed 08/10/07 Page 3 of 5


                                                                                                                  1           9.      Per any consolidation, it is likely that the Washington case, filed prior to Bauer,
                                                                                                                  2   will be the lead case so all current deadlines in Bauer will be vacated by the Court.
                                                                                                                  3           10.     Based upon these facts, there is good cause for this Court to grant a brief
                                                                                                                  4   continuance of the expert discovery deadline, pre-trial conference and trial dates for
McNAMARA, DODGE, NEY, BEATTY, SLATTERY, PFALZER, BORGES & BROTHERS LLP




                                                                                                                  5   approximately ninety (90) days pending the outcome of Plaintiff Washington’s motion for leave
                                                                                                                  6   to file a First Amended Complaint, which is currently under submission.
                                                                                                                  7           11.     The parties in this Bauer case have disclosed experts and Defendants have taken
                                                                                                                  8   the deposition of one of Plaintiff’s experts. One expert, Dr. Spitz, remains to be deposed in this
                                                                                                                  9   case, though these consolidation issues have complicated the scheduling and taking of this
                                                                         P.O. BOX 5288, WALNUT CREEK, CA 94596




                                                                                                                 10   deposition.
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                 11           12.     Consolidation of these two cases is likely to effect a savings of judicial effort and
                                                                                   ATTORNEYS AT LAW




                                                                                                                 12   other economies, to both the Court and the parties. Per the requirements of LR 83-123, if leave to
                                                                                                                 13   amend is granted, then both actions would involve the same or similar parties and are based on
                                                                                                                 14   the same or similar claims, arising out of the same event, and would involve similar questions of
                                                                                                                 15   fact and of law. The assignment of these cases to the same Judge or Magistrate Judge is likely to
                                                                                                                 16   effect a substantial savings of judicial effort.
                                                                                                                 17           13.     It is likely that the same witnesses will testify in both actions and it is likely that
                                                                                                                 18   experts in both actions will also overlap.
                                                                                                                 19           14.     Failing to consolidate these actions may force the parties to engage in substantial
                                                                                                                 20   duplication of labor, which will also result in duplication of effort and resources by the Court.
                                                                                                                 21           15.     Failing to consolidate these actions may also result in differing results between the
                                                                                                                 22   two cases, which involve many overlapping issues, and will violate California’s “one action rule”
                                                                                                                 23   for wrongful death claims. Ruttenberg v. Ruttenberg (1997) 53 Cal.App.4th 801, 807 (the so
                                                                                                                 24   called “one action rule” generally requires that all claimants join or be joined in a single action).
                                                                                                                 25   ///
                                                                                                                 26   ///

                                                                                                                      ///

                                                                                                                      ///
                                                                                                                      STIPULATION AND ORDER CONTINUING TRIAL AND         3
                                                                                                                      OTHER DATES PENDING RELEVANT MOTION IN
                                                                                                                      RELATED FEDERAL ACTION – 06-00549 MCE DAD
                                                                                                                      Case 2:06-cv-00549-JAM-DAD Document 26 Filed 08/10/07 Page 4 of 5


                                                                                                                  1          16.     As such, good cause has been demonstrated by the parties to allow for a brief
                                                                                                                  2   continuance of the trial of this Bauer matter, pending the outcome of Plaintiff Washington’s
                                                                                                                  3   motion for leave to file a First Amended Complaint. Should the Plaintiff Washington’s motion be
                                                                                                                  4   granted, this would allow the parties in this Bauer case to take such action as is necessary, in
McNAMARA, DODGE, NEY, BEATTY, SLATTERY, PFALZER, BORGES & BROTHERS LLP




                                                                                                                  5   conjunction with the parties in the Washington case, to consolidate these two practically identical
                                                                                                                  6   actions pertaining to the same facts and circumstances.
                                                                                                                  7          17.     In that vein, per the good cause demonstrated by the parties above, the parties
                                                                                                                  8   propose the following new dates for such an order from the Court:
                                                                                                                  9                                 Proposed New Scheduling Order Dates
                                                                         P.O. BOX 5288, WALNUT CREEK, CA 94596




                                                                                                                 10                  Description                                    Proposed New Deadline
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                 11                  Deadline to complete expert discovery          November 16, 2007
                                                                                   ATTORNEYS AT LAW




                                                                                                                 12                  Joint Final Pretrial Statement                 November 19, 2007
                                                                                                                 13                  Final Pre-trial Conference                     December 7, 2007 at 9:00 a.m.
                                                                                                                 14                  Trial Date                                     January 14, 2008 at 9:00 a.m.
                                                                                                                 15                                                   Respectfully submitted,
                                                                                                                 16   Dated: ______________, 2007            LAW OFFICES OF JOHN L. BURRIS
                                                                                                                 17
                                                                                                                                                             By:      /s/ Nisenbaum, Ben
                                                                                                                 18                                                John L. Burris, Esq./Ben Nisenbaum, Esq.,
                                                                                                                                                                   Attorneys for Plaintiffs
                                                                                                                 19

                                                                                                                 20   Dated: ______________, 2007            MCNAMARA, DODGE, NEY, BEATTY, SLATTERY,
                                                                                                                                                             PFALZER, BORGES & BROTHERS LLP
                                                                                                                 21

                                                                                                                 22                                          By:      /s/ Fitzgerald, James V. III
                                                                                                                                                                   James V. Fitzgerald, III / Noah G. Blechman
                                                                                                                 23                                                Attorneys for Defendant
                                                                                                                                                                   CITY OF VALLEJO, ROBERT NICHELINI and
                                                                                                                 24                                                JEREMY PATZER
                                                                                                                 25

                                                                                                                 26




                                                                                                                      STIPULATION AND ORDER CONTINUING TRIAL AND         4
                                                                                                                      OTHER DATES PENDING RELEVANT MOTION IN
                                                                                                                      RELATED FEDERAL ACTION – 06-00549 MCE DAD
                                                                                                                      Case 2:06-cv-00549-JAM-DAD Document 26 Filed 08/10/07 Page 5 of 5


                                                                                                                  1                                                 ORDER
                                                                                                                  2
                                                                                                                             PURSUANT TO THE FOREGOING STIPULATION, IT IS ORDERED THAT
                                                                                                                  3
                                                                                                                      THE DATES CURRENTLY SET IN THIS MATTER ARE CONTINUED PER THE
                                                                                                                  4
                                                                                                                      PROPOSED NEW SCHEDULING ORDER DATES LISTED ABOVE, AT THE SAME
McNAMARA, DODGE, NEY, BEATTY, SLATTERY, PFALZER, BORGES & BROTHERS LLP




                                                                                                                  5
                                                                                                                      TIMES AS PREVIOUSLY ORDERED. ALL DEADLINES PER LOCAL RULE AND
                                                                                                                  6
                                                                                                                      THE COURT’S SCHEDULING ORDERS SHOULD COMPLY WITH THESE NEW
                                                                                                                  7
                                                                                                                      DATES.
                                                                                                                  8

                                                                                                                  9   Dated: August 9, 2007
                                                                         P.O. BOX 5288, WALNUT CREEK, CA 94596




                                                                                                                 10                                               __________________________________
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                 11                                               MORRISON C. ENGLAND, JR
                                                                                   ATTORNEYS AT LAW




                                                                                                                                                                  UNITED STATES DISTRICT JUDGE
                                                                                                                 12

                                                                                                                 13

                                                                                                                 14

                                                                                                                 15

                                                                                                                 16

                                                                                                                 17

                                                                                                                 18

                                                                                                                 19

                                                                                                                 20

                                                                                                                 21

                                                                                                                 22

                                                                                                                 23

                                                                                                                 24

                                                                                                                 25

                                                                                                                 26




                                                                                                                      STIPULATION AND ORDER CONTINUING TRIAL AND       5
                                                                                                                      OTHER DATES PENDING RELEVANT MOTION IN
                                                                                                                      RELATED FEDERAL ACTION – 06-00549 MCE DAD
